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                            United States District Court
                                       for the
                             District of Massachusetts
                              1:23-CV-13116-GAO
______________________________________________________________________________

                                       Louise Harris Daddeh,
                        Personal Representative of the Estate of Moses Harris,

                                                   Plaintiff,

                                                      -vs-

                                 Commonwealth of Massachusetts, et al.,

                                  Defendants.
______________________________________________________________________________

    PLAINTIFF LOUISE HARRIS DADDEH’S UNOPPOSED MOTION FOR LEAVE TO
               FILE A REPLY PURSUANT TO LOCAL RULE 7.1(b)(3)

     1. Louise Harris Daddeh, through her attorney, Joshua O’Neill, Esq., moves the Court under

Local Rule 7.1(b)(3) for leave of court to file a reply in support of her motion for leave to file an

amended complaint by Friday, November 1, 2024.

                                                Background

     2. On September 19, 2024, the Court entered an order dismissing the complaint in this matter,

which was originally filed on December 18, 2023. Doc Nos 1, 29, and 30.

     3. On October 18, 2024, Ms. Daddeh filed a motion to amend her complaint. Doc No 31.

     4. Five days later, Defendants 1 filed an opposition to Ms. Daddeh’s motion to amend. Doc

No 33.

     5. Defendants’ opposition makes various procedural and substantive arguments which Ms.

Daddeh did not address in her motion to amend. Id.



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  Ms. Daddeh uses “Defendants” to refer to the two Defendants listed in the proposed amended complaint, which are
the City of Lowell and Lowell Police Department Officer John Doe 1.
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   6. Ms. Daddeh now moves for leave to file a reply in support of her motion to amend.

Defendants assent to the motion for leave to file a reply.

                                             Analysis

   7. Under Local Rule 7.1(b)(3), a reply in support of a motion may only be filed “with leave

of court.”

   8. Here, the Court should allow Ms. Daddeh’s motion for leave to file a reply in support of

her motion to amend the complaint for three reasons.

   9. First, Defendants have raised procedural and substantive arguments in their opposition

which Ms. Daddeh did not address in her initial motion. Allowing her to file a reply will provide

the Court with full briefing on each of the issues and give her the opportunity to respond to

arguments she has not addressed.

   10. Second, the Court will, in effect, add no time to the briefing by allowing Ms. Daddeh to

file her reply by November 1, 2024. She filed her motion to amend on October 18, 2024,

establishing the automatic deadline for Defendants to oppose the motion as November 1, 2024.

L.R. 7.1(b)(2). Thanks to Defendants quick response, Ms. Daddeh can, with leave of this Court,

file her reply on the original deadline by which Defendants were required to respond to the initial

motion.

   11. Finally, as noted above, counsel for Plaintiff and Defendants have conferred regarding this

motion for leave to file a reply, and Defendants do not oppose it.




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                                           Conclusion

   12. For those reasons, the Court should grant Ms. Daddeh leave to file a reply under Local

Rule 7.1(b)(3) and set the deadline to file the reply as Friday, November 1, 2024.

       Dated: October 29, 2024
              Boston, Massachusetts
                                                            Respectfully submitted,




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                         CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

       I, Joshua O’Neill, Esq., hereby certify, subject to the penalties of perjury, that I have

conferred with opposing counsel and attempted in good faith to resolve or narrow the issue(s)

raised in this motion.




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                                 CERTIFICATE OF SERVICE

       I, Joshua O’Neill, Esq., hereby certify, subject to the penalties of perjury, that I have served

this filing and any attachments or exhibits on counsel for Defendants via the Court’s electronic

filing and case management system:



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